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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

Nelson L. Bruce,                           )         Case No. 2:22-cv-02211-BHH-MGB
                                           )
                      Plaintiff,           )
                                           )
        v.                                 )
                                           )                       ORDER
 Pentagon Federal Credit Union, a.k.a.     )
 Pentagon Federal Credit Union Foundation; )
 Experian Information Solutions, Inc.;     )
 Trans Union, LLC;                         )
 Equifax Information Services, LLC; and    )
 All Unknown Does 1–100,                   )
                                           )
                      Defendants.          )
                                           )

        Plaintiff Nelson L. Bruce, proceeding pro se, brings this civil action alleging claims pursuant
to the Fair Credit Reporting Act, among others. Under Local Civil Rule 73.02(B)(2) (D.S.C.),
pretrial proceedings in this action have been referred to the assigned United States Magistrate Judge.

MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS:

       Plaintiff submitted an Application to Proceed Without Prepayment of Fees (Dkt. No. 2),
which is construed as a motion for leave to proceed in forma pauperis. See 28 U.S.C. § 1915(a)(1),
(2). The application indicates that Plaintiff does not have sufficient funds to pay the filing fee.
Therefore, the motion for leave to proceed in forma pauperis (Dkt. No. 2) is GRANTED.

TO THE PLAINTIFF:

       The Court cannot authorize service of the Complaint at time, as you have not provided a
completed set of proposed service documents or answers to the Court’s interrogatories. Under
General Order In Re: Procedures in Civil Actions Filed by Non-Prisoner Pro Se Litigants, No. 3:07-
mc-5015-JFA (D.S.C. Sept. 18, 2007), the undersigned is giving you twenty-one days from the
date this Order is entered, plus three days for mail time, to do the following:

       1.      Complete one summons form for each Defendant named in your Complaint and
               return the forms to the Clerk of Court. In the space following “TO: (Defendant’s
               name and address),” you must provide a complete name and a full address where
               defendant can be served under Federal Rule of Civil Procedure 4. You must provide
               your complete name and full address in the blank section following “plaintiff or
               plaintiff’s attorney, whose name and address are.” Handwritten information must be
               printed and legible. Do not write anything else on either the front or back of the
               summons or in the margins. Four blank summons forms are enclosed for your
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              use.

       2.     Complete one Form USM 285 for each Defendant named in your Complaint and
              return the forms to the Clerk of Court. Only one defendant’s name and street address
              should appear on each form. The defendant’s name and street address should be
              placed in the spaces preceded by the words, “SERVE AT.” Your name and address
              should be placed in the space designated, “SEND NOTICE OF SERVICE COPY
              TO. . . ,” and you must sign where the form requests, “Signature of Attorney or other
              Originator . . . .” You must provide the defendant’s complete street address on the
              form (not a post office box address). You must provide, and are responsible for,
              information sufficient to identify Defendants on the Forms USM-285. The United
              States Marshal cannot serve an inadequately identified defendant, and unserved
              Defendants may be dismissed as parties to this case. Four blank Forms USM-285
              are enclosed for your use.

       3.     Complete, sign, and return your responses to the Court’s Local Civil Rule 26.01
              interrogatories. A blank copy of the interrogatories is enclosed herewith.

        The Court cannot determine whether process should issue in this case until the items
specified above have been reviewed by the assigned Magistrate Judge.

      If you do not follow the instructions above within the time permitted by this Order, this
case may be dismissed for failure to prosecute and failure to comply with an order of this
Court under Rule 41 of the Federal Rules of Civil Procedure.

       The undersigned notes that you have listed “All Unknown Does 1–100” as Defendants in
this matter. Although a litigant may bring suit against unknown persons, the United States Marshal
cannot serve an inadequately identified defendant. You must therefore make diligent efforts to
properly identify these unknown defendants and provide information sufficient for the United
States Marshal to perfect service on the same. Please be mindful of the 90-day deadline in
obtaining further identifying information and submitting the necessary service documents for the
unknown defendants. Unserved defendants may be dismissed as parties to this case if not served
within the 90-day time period. But see Rule 4(m), Fed. R. Civ. P. (noting that “if the plaintiff
shows good cause for the failure, the court must extend the time for service for an appropriate
period”).

       You must place the civil action number listed above (No. 2:22-cv-02211-BHH-MGB) on
any document you provide the Court. Any future filings in this case must be sent to the Court at
P.O. Box 835, Charleston, South Carolina 29402. All documents requiring your signature shall be
signed with your full legal name written in your own handwriting. You must not use the “s/typed
name” format used in the Electronic Case Filing System. In all future filings with this Court, you
must use letter-sized (8½ inches by 11 inches) paper only, write or type text on only one side of a
sheet of paper, and not write or type on both sides of any sheet of paper. You must not write to the
edge of the paper, but must instead leave one inch-margins on the top, bottom, and sides of each
paper submitted.

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        You are ordered to always keep the Clerk of Court advised in writing (P.O. Box 835,
Charleston, South Carolina 29402) if your address changes for any reason, so as to assure that
orders or other matters that specify deadlines for you to meet will be received by you. If, as a result
of your failure to comply with this Order, you fail to meet a deadline set by this Court, your case
may be dismissed for violating this Order. Therefore, if you have a change of address before this
case is ended, you must comply with this Order by immediately advising the Clerk of Court in
writing of such change of address and providing the Court with the docket number of all pending
cases you have filed with this Court. Your failure to do so will not be excused by the Court.

TO THE CLERK OF COURT:
        The Clerk shall mail a copy of this Order and the proper form documents to Plaintiff. If
Plaintiff fails to provide the items specified above to the Clerk within the period prescribed in this
order, the Clerk shall forward the file to the assigned United States District Judge to determine
whether to enter an order of dismissal. See In Re: Procedures in Civil Actions Filed by Non-
Prisoner Pro Se Litigants, No. 3:07-mc-5015-JFA (D.S.C. Sept. 18, 2007). If, however, Plaintiff
provides the items specified above, the Clerk should forward the file to the undersigned to
determine if service of process should be authorized.

        The Clerk shall not enter any change of address submitted by Plaintiff which directs that
mail be sent to a person other than Plaintiff unless that person is an attorney admitted to practice
before this Court who has entered a formal appearance.

       IT IS SO ORDERED.




July 13, 2022
Charleston, South Carolina


        Plaintiff’s attention is directed to the important warning on the next page.




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       IMPORTANT INFORMATION—PLEASE READ CAREFULLY

             WARNING TO PRO SE PARTY OR NONPARTY FILERS

      ALL DOCUMENTS THAT YOU FILE WITH THE COURT WILL BE AVAILABLE
TO THE PUBLIC ON THE INTERNET THROUGH PACER (PUBLIC ACCESS TO COURT
ELECTRONIC RECORDS) AND THE COURT’S ELECTRONIC CASE FILING SYSTEM.
CERTAIN PERSONAL IDENTIFYING INFORMATION SHOULD NOT BE INCLUDED
IN, OR SHOULD BE REMOVED FROM, ALL DOCUMENTS BEFORE YOU SUBMIT
THE DOCUMENTS TO THE COURT FOR FILING.

         Rule 5.2 of the Federal Rules of Civil Procedure provides for privacy protection of
electronic or paper filings made with the court. Rule 5.2 applies to ALL documents submitted for
filing, including pleadings, exhibits to pleadings, discovery responses, and any other document
submitted by any party or nonparty for filing. Unless otherwise ordered by the court, a party or
nonparty filer should not put certain types of an individual’s personal identifying information in
documents submitted for filing to any United States District Court. If it is necessary to file a
document that already contains personal identifying information, the personal identifying
information should be “blacked out” or redacted prior to submitting the document to the Clerk
of Court for filing. A person filing any document containing their own personal identifying
information waives the protection of Rule 5.2(a) by filing the information without redaction and
not under seal.

1.     Personal information protected by Rule 5.2(a):

       (a)     Social Security and Taxpayer identification numbers. If an individual’s social
               security number or a taxpayer identification number must be included in a
               document, the filer may include only the last four digits of that number.
       (b)     Names of Minor Children. If the involvement of a minor child must be
               mentioned, the filer may include only the initials of that child.
       (c)     Dates of Birth. If an individual’s date of birth must be included in a document, the
               filer may include only the year of birth.
       (d)     Financial Account Numbers. If financial account numbers are relevant, the filer
               may include only the last four digits of these numbers.

2.     Protection of other sensitive personal information—such as driver’s license numbers and
       alien registration numbers—may be sought under Rule 5.2(d) (filings made under seal) and
       (e) (protective orders).




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